Case 17-54087-lrc   Doc 218   Filed 05/10/19 Entered 05/10/19 18:04:21   Desc Main
                              Document     Page 1 of 31
Case 17-54087-lrc   Doc 218   Filed 05/10/19 Entered 05/10/19 18:04:21   Desc Main
                              Document     Page 2 of 31
Case 17-54087-lrc   Doc 218   Filed 05/10/19 Entered 05/10/19 18:04:21   Desc Main
                              Document     Page 3 of 31
Case 17-54087-lrc   Doc 218   Filed 05/10/19 Entered 05/10/19 18:04:21   Desc Main
                              Document     Page 4 of 31
Case 17-54087-lrc   Doc 218   Filed 05/10/19 Entered 05/10/19 18:04:21   Desc Main
                              Document     Page 5 of 31
Case 17-54087-lrc   Doc 218   Filed 05/10/19 Entered 05/10/19 18:04:21   Desc Main
                              Document     Page 6 of 31
Case 17-54087-lrc   Doc 218   Filed 05/10/19 Entered 05/10/19 18:04:21   Desc Main
                              Document     Page 7 of 31
Case 17-54087-lrc   Doc 218   Filed 05/10/19 Entered 05/10/19 18:04:21   Desc Main
                              Document     Page 8 of 31
Case 17-54087-lrc   Doc 218   Filed 05/10/19 Entered 05/10/19 18:04:21   Desc Main
                              Document     Page 9 of 31
Case 17-54087-lrc   Doc 218    Filed 05/10/19 Entered 05/10/19 18:04:21   Desc Main
                              Document      Page 10 of 31
Case 17-54087-lrc   Doc 218    Filed 05/10/19 Entered 05/10/19 18:04:21   Desc Main
                              Document      Page 11 of 31
Case 17-54087-lrc   Doc 218    Filed 05/10/19 Entered 05/10/19 18:04:21   Desc Main
                              Document      Page 12 of 31
Case 17-54087-lrc   Doc 218    Filed 05/10/19 Entered 05/10/19 18:04:21   Desc Main
                              Document      Page 13 of 31
Case 17-54087-lrc   Doc 218    Filed 05/10/19 Entered 05/10/19 18:04:21   Desc Main
                              Document      Page 14 of 31
Case 17-54087-lrc   Doc 218    Filed 05/10/19 Entered 05/10/19 18:04:21   Desc Main
                              Document      Page 15 of 31
Case 17-54087-lrc   Doc 218    Filed 05/10/19 Entered 05/10/19 18:04:21   Desc Main
                              Document      Page 16 of 31
Case 17-54087-lrc   Doc 218    Filed 05/10/19 Entered 05/10/19 18:04:21   Desc Main
                              Document      Page 17 of 31
Case 17-54087-lrc   Doc 218    Filed 05/10/19 Entered 05/10/19 18:04:21   Desc Main
                              Document      Page 18 of 31
Case 17-54087-lrc   Doc 218    Filed 05/10/19 Entered 05/10/19 18:04:21   Desc Main
                              Document      Page 19 of 31
Case 17-54087-lrc   Doc 218    Filed 05/10/19 Entered 05/10/19 18:04:21   Desc Main
                              Document      Page 20 of 31
Case 17-54087-lrc   Doc 218    Filed 05/10/19 Entered 05/10/19 18:04:21   Desc Main
                              Document      Page 21 of 31
Case 17-54087-lrc   Doc 218    Filed 05/10/19 Entered 05/10/19 18:04:21   Desc Main
                              Document      Page 22 of 31
Case 17-54087-lrc   Doc 218    Filed 05/10/19 Entered 05/10/19 18:04:21   Desc Main
                              Document      Page 23 of 31
Case 17-54087-lrc   Doc 218    Filed 05/10/19 Entered 05/10/19 18:04:21   Desc Main
                              Document      Page 24 of 31
Case 17-54087-lrc   Doc 218    Filed 05/10/19 Entered 05/10/19 18:04:21   Desc Main
                              Document      Page 25 of 31
Case 17-54087-lrc   Doc 218    Filed 05/10/19 Entered 05/10/19 18:04:21   Desc Main
                              Document      Page 26 of 31
Case 17-54087-lrc   Doc 218    Filed 05/10/19 Entered 05/10/19 18:04:21   Desc Main
                              Document      Page 27 of 31
Case 17-54087-lrc   Doc 218    Filed 05/10/19 Entered 05/10/19 18:04:21   Desc Main
                              Document      Page 28 of 31
Case 17-54087-lrc   Doc 218    Filed 05/10/19 Entered 05/10/19 18:04:21   Desc Main
                              Document      Page 29 of 31
Case 17-54087-lrc   Doc 218    Filed 05/10/19 Entered 05/10/19 18:04:21   Desc Main
                              Document      Page 30 of 31
Case 17-54087-lrc   Doc 218    Filed 05/10/19 Entered 05/10/19 18:04:21   Desc Main
                              Document      Page 31 of 31
